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                  UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

              Plaintiffs,

        v.                                   Case No. 1:18-cv-00950-LO-JFA

  COX COMMUNICATIONS, INC., et al.,

              Defendants.



                DEFENDANTS’ MEMORANDUM IN OPPOSITION
              TO PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT




                             FILED UNDER SEAL
